Case 3:19-bk-30822       Doc 67   Filed 07/19/19 Entered 07/22/19 11:37:17           Desc Main
                                  Document     Page 1 of 3



This document has been electronically entered in the records of the United
States Bankruptcy Court for the Southern District of Ohio.


IT IS SO ORDERED.



Dated: July 19, 2019

                    UNITED STATES BANKRUPTCY COURT
                   FOR THE SOUTHERN DISTRICT OF OHIO
________________________________________________________________
                      WESTERN DIVISION AT DAYTON


In re: TAGNETICS INC.,
                                                  Case No.    19‐30822

                                                  Judge Humphrey
                                                  Chapter 7



            Order Extending Time to File Witness Lists, Exhibit Lists and Exhibits


       In accordance with the court’s colloquy with counsel and the pro se parties during
the pretrial conference on July 19, 2019, this order modifies the court’s prior Order
Rescheduling Pretrial Conference and Trial on Voluntary Petition (doc. 1), Setting Documentary
and E‐Discovery Cut‐Off Date, Requiring Filings and Ordering Other Matters (doc. 32) as
follows:

       Witness and Exhibit(s) Lists and Filing, Presentation, and Admission of Exhibits

       In accordance with the provisions of Local Bankruptcy Rule 7016‐1, counsel and pro se
parties shall complete the appropriate Local Bankruptcy Rule Form 7016‐1 (Attachment A)
Witness List(s), containing the person(s) who the Petitioning Creditors, Tagnetics or other
parties may call, or have available for testimony at the trial, including separately designated
expert witnesses, which shall be filed with the court and exchanged with counsel not later
than Wednesday, July 24, 2019 at 12:00 p.m. (noon) (Eastern Time).

            In accordance with the provisions of Local Bankruptcy Rule 7016‐1, counsel
and pro se parties shall complete the appropriate Local Bankruptcy Rule Form 7016‐1
Case 3:19-bk-30822      Doc 67    Filed 07/19/19 Entered 07/22/19 11:37:17            Desc Main
                                  Document     Page 2 of 3


(Attachment B) Exhibit List(s). The Exhibit List(s), together with complete copies of all
proposed exhibits which the Petitioning Creditors or Tagnetics Inc. may offer as exhibits
individually and/or jointly, shall be filed with the court and exchanged with opposing
counsel not later than Wednesday, July 24, 2019 at 12:00 p.m. (noon) (Eastern Time).
Exhibits not timely exchanged may not be admitted at the trial. If the Petitioning Creditors
proceed on a pro se basis (representing themselves without legal counsel) and they intend
to call witnesses or introduce documents at the trial as evidence, they or someone on their
behalf must either bring their documents to the courthouse or mail their documents, by
overnight or other expedited service, in time to ensure that their documents are received
by the Clerk by noon (Eastern Time) on July 24, 2019. If any documents intended to be
introduced as evidence at the trial are not filed with the court by July 24, 2019 at 12:00 p.m.
(noon) (Eastern Time), the party seeking to introduce those documents as evidence may be
precluded from using those documents as evidence at the trial.

      Each party shall pre‐mark all exhibits. The trial will not commence until all exhibits
       have been suitably labeled. Absent unusual circumstances the Courtroom Deputy will
       not mark exhibits during the course of the trial.

      Parties shall mark exhibits as follows:

              Numbers – Petitioning Creditors
              Letters – Tagnetics Inc.

      At the conclusion of the trial, counsel shall provide an original hard copy of each
       exhibit proffered to the court as evidence during the course of the hearing to be
       retained by the court as part of the record. Presentation of all exhibits during the
       trial shall be by means of the court’s electronic display system. If counsel intends to
       present exhibits electronically from a laptop computer or use other digital
       presentation devices, then counsel must provide at least three (3) days advance
       notice to the court to ensure security clearance and technical compatibility.
       Courtroom equipment testing and setup of counsel‐provided devices are the
       responsibility of counsel and should be completed prior to the hearing
       commencement time.

       Copies of witness lists ‐ Form 7016 (Attachment A) Witness List(s) and copies of
exhibit lists Form 7016 (Attachment B) Exhibit List(s) [Individual or Joint Exhibit(s)] are
available from the court’s website www.ohsb.uscourts.gov and from the Clerk of the
Bankruptcy Court in this District.

       All other provisions of the court’s prior Order (doc. 32) remain in full force and effect.

       IT IS SO ORDERED.

Copies to:
                                                 2
Case 3:19-bk-30822       Doc 67    Filed 07/19/19 Entered 07/22/19 11:37:17       Desc Main
                                   Document     Page 3 of 3




All Creditors and Parties in Interest

Douglas S. Draper, 650 Poydras Street, Suite 2500, New Orleans, Louisiana 70130

Leslie A. Collins, 650 Poydras Street, Suite 2500, New Orleans, Louisiana 70130




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